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                                               Hearing Date and Time: September 7, 2023 at 10:00 a.m.
                                                     Objection Deadline: August 31, 2023 at 4:00 p.m.

 RUBIN LLC
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 Counsel for GLL BVK Columbus Circle LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------x
                                      :
In re:                                : Sub-Chapter V Chapter 11
                                      :
ZHANG MEDICAL P.C., d/b/a NEW HOPE    : Case No.: 23-10678-pb
FERTILITY CENTER,                     :
                                      :
                Debtor.               :
--------------------------------------x

       NOTICE OF HEARING ON LANDLORD’S OBJECTION PURSUANT
        TO RULE 1020(b) OF THE FEDERAL RULES OF BANKRUPTCY
    PROCEDURE TO DEBTOR’S DESIGNATION AS A SUBCHAPTER V DEBTOR

       PLEASE TAKE NOTICE that a hearing (the “Hearing”) to consider the objection (the

“Objection”) of GLL BVK Columbus Circle LLC (the “Landlord”), by its counsel, Rubin LLC,

pursuant to Rule 1020(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

to the designation by Zhang Medical P.C., d/b/a New Hope Fertility Center (the “Debtor”) as a

debtor as defined in section 1182(1) of title 11 of the United States Code (the “Bankruptcy Code”)

and the Debtor’s election to proceed under subchapter V of chapter 11 of the Bankruptcy Code,

shall be held before the Honorable Philip Bentley, Bankruptcy Judge, United States Bankruptcy

Court for the Southern District of New York, One Bowling Green, New York, NY 10004, on

September 7, 2023 at 10:00 a.m., or as soon thereafter as counsel may be heard (the “Hearing”).
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       PLEASE TAKE FURTHER NOTICE that the Hearing will be held remotely via Zoom

for Government. Parties requiring active participant access must register appearances through

eCourt Appearances in advance of the Hearing. Instructions for registering appearances are

available on the Court’s website at www.nysb.uscourts.gov/ecourt-appearances.

       PLEASE TAKE FURTHER NOTICE that responses to the Objection, if any, must be in

writing, shall conform to the Bankruptcy Rules and the Local Rules of the Bankruptcy Court, shall

be filed with the Bankruptcy Court, and shall be served upon (a) counsel for the Landlord, Rubin

LLC, 11 Broadway, Suite 715, New York, NY 10004 (Attn.: Paul A. Rubin); and (b) all parties

who have timely filed requests for notice under Rule 2002 of the Bankruptcy Rules, so as to be

received no later than August 31, 2023 at 4:00 p.m. (the “Objection Deadline”).

       PLEASE TAKE FURTHER NOTICE that if a response to the Objection is not received

by the Objection Deadline, the relief requested shall be deemed unopposed, and the Court may

enter an order granting the relief sought without a hearing.

       PLEASE TAKE FURTHER NOTICE that objecting parties are required to attend the

Hearing, and failure to appear may result in relief being granted or denied upon default.




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Dated: New York, New York
       August 15, 2023

                                           RUBIN LLC

                                           By:    /s/ Paul A. Rubin
                                                  Paul A. Rubin
                                                  Hanh V. Huynh
                                           11 Broadway, Suite 715
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                                           Counsel for GLL BVK Columbus Circle
                                           LLC




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                                               Hearing Date and Time: September 7, 2023 at 10:00 a.m.
                                                     Objection Deadline: August 31, 2023 at 4:00 p.m.

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 Counsel for GLL BVK Columbus Circle LLC

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------x
                                      :
In re:                                : Sub-Chapter V Chapter 11
                                      :
ZHANG MEDICAL P.C., d/b/a NEW HOPE    : Case No.: 23-10678-pb
FERTILITY CENTER,                     :
                                      :
                Debtor.               :
--------------------------------------x

              LANDLORD’S OBJECTION PURSUANT TO RULE 1020(b)
             OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE
            TO DEBTOR’S DESIGNATION AS A SUBCHAPTER V DEBTOR

       GLL BVK Columbus Circle LLC (the “Landlord”), by its undersigned counsel, hereby

files this objection (the “Objection”), pursuant to Rule 1020(b) of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”), to the designation by Zhang Medical P.C., d/b/a New Hope

Fertility Center (the “Debtor”) as a debtor as defined in section 1182(1) of title 11 of the United

States Code (the “Bankruptcy Code”) and the Debtor’s election to proceed under subchapter V of

chapter 11 of the Bankruptcy Code. In support of this Objection, the Landlord respectfully

represents as follows:
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                                       PRELIMINARY STATEMENT1

           1.       This Debtor looks nothing like a subchapter V small business debtor. The Debtor

was described at the “first day” hearing held on May 11, 2023 as possibly the most preeminent

fertility clinic in the world. The Debtor has over 90 employees and paid its principal more than

$2.6 million in annual compensation and benefits in the year preceding the Petition Date. The

Debtor generated gross revenue of over $27 million between January 23, 2022 through February

22, 2023, and over $28 million between January 23, 2021 through February 22, 2022. It should

come as no surprise, therefore, that this Debtor is not eligible to be a subchapter V debtor because

it has aggregate liquidated noncontingent debts totaling more than the statutory debt limit of $7.5

million.

           2.       The Debtor has grossly understated its debt to the Landlord in order to be able to

proceed under subchapter V. The Debtor should not be permitted to enjoy the additional benefits

afforded subchapter V debtors when it does not qualify to be a subchapter V debtor. As set forth

below, the Landlord holds a liquidated, noncontingent claim as of the Petition Date in the amount

of $7,056,806.49. The Landlord’s claim, together with the claims that the Debtor itself has

scheduled, puts the Debtor well above the $7.5 million debt limit for subchapter V debtors.

Accordingly, the Court should revoke the Debtor’s designation as a subchapter V debtor and its

election to proceed under subchapter V.

           3.       The Debtor is also not entitled to proceed under subchapter V for the separate,

independent reason that it has failed to comply with the statutory deadline to file a subchapter V

plan. The Plan that the Debtor has filed at the last possible moment is at best a mere placeholder

plan that is facially deficient and unconfirmable and was filed simply to create the illusion of


1
    Capitalized terms not defined in the Preliminary Statement have the meaning ascribed to them in this Objection.



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compliance with the 90-day deadline. The most critical documents required by statute to be

included in a Plan—a liquidation analysis and projections—were not filed. The Debtor could have,

but did not, request an extension of time in which to file its subchapter V plan. The Debtor should

not be permitted to enjoy the additional benefits afforded subchapter V debtors without timely

complying with the procedural requirements enacted under subchapter V of the Bankruptcy Code.

For this separate reason, the Court should revoke the Debtor’s election to proceed under subchapter

V.

                                               BACKGROUND

The Lease

        4.       The Landlord is the owner of real property located at 4 Columbus Circle, New

York, New York (the “Building”). The Landlord leased to the Debtor the entire second, third,

fourth and fifth floors (the “Leased Premises”) in the Building pursuant to that certain Agreement

of Lease dated December 31, 2018 (together with all amendments, the “Lease”).2

        5.       Following the Debtor’s defaults under the Lease beginning in or about July 2020,

on or about March 10, 2021, the Landlord commenced an action in the Supreme Court of the State

of New York, County of New York (the “State Court”), asserting claims against the Debtor for

failure to pay rent, failure to provide a security deposit, failure to discharge a lien filed on the

Building, and for improperly subletting and/or permitting others to use the Leased Premises. The

Debtor and the Landlord were able to negotiate a consensual resolution of the 2021 State Court

action, as memorialized in that certain Second Amendment of Lease dated December 31, 2021.




2
 The Lease, together with other Lease-related documents referenced herein are annexed as exhibits to the Declaration
of Alin T. Sigheartau [ECF No. 25] in support of the Landlord’s motion to compel the Debtor to pay post-petition
Lease obligations pursuant to section 365(d)(3) of the Bankruptcy Code.



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        6.      Beginning in October 2022, however, the Debtor again defaulted under the terms

of the Lease by, among other things, failing to pay rent, failing to make certain payments to

replenish the security deposit, and allowing a new mechanic’s lien to be filed against the Building

in the amount of over $1.3 million for unpaid construction work on the Leased Premises.

        7.      As a result of the Debtor’s numerous defaults under the Lease, on April 18, 2023,

the Landlord commenced a new action in the State Court for, among other things, the Debtor’s

breaches of the Lease. A copy of the Complaint dated April 17, 2023 filed by the Landlord in the

State Court (the “Complaint”) is annexed as Exhibit A to the Rider to the Landlord Claim (defined

below).

The Subchapter V Case

        8.      On April 30, 2023 (the “Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of the Bankruptcy Code.3 The Debtor designated itself as a debtor as

defined in section 1182(1) of the Bankruptcy Code and elected to proceed under subchapter V of

chapter 11. Eric Huebscher was appointed as the subchapter V trustee (the “Subchapter V

Trustee”) for the Debtor’s case.

        9.      On June 1, 2023, the United States Trustee held a meeting of creditors pursuant to

section 341 of the Bankruptcy Code. The section 341 meeting has been continued multiple times,

with the next continued meeting scheduled for September 5, 2023. The Debtor’s section 341

meeting, therefore, has not been concluded.

        10.     On June 30, 2023, the Debtor filed a motion [ECF No. 74] to reject the Lease nunc

pro tunc to June 30, 2023. The Court held a hearing on the rejection motion on July 25, 2023, and




3
 The Debtor filed an Amended Petition on June 6, 2023 [ECF No. 43]. The Amended Petition was filed solely to
correct the Debtor’s d/b/a name.



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on July 27, 2023, the Court entered an order [ECF No. 96] authorizing the rejection of the Lease

effective as of July 20, 2023.

       11.     On August 4, 2023, the Court entered an order [ECF No. 102] establishing

September 11, 2023 as the deadline for claims (other than claims of governmental units) against

the Debtor to be filed.

The Subchapter V Plan

       12.     On July 31, 2023, at eleven minutes before midnight, the Debtor filed its Small

Business Subchapter V Chapter 11 Reorganization Plan (the “Plan”) [ECF No. 98].                   Not

coincidentally, the 90-day deadline for the Debtor to file a subchapter V plan pursuant to section

1189 of the Bankruptcy Code was July 31, 2023.

       13.     The Plan suffers from a number of material deficiencies rendering it facially

unconfirmable. For example, although the Plan referenced a liquidation analysis and projections

annexed as exhibits thereto, no liquidation analysis or projections were filed.4 The Plan states that

“[a]s set forth in the analysis set forth in Exhibit A, the Debtor estimates that its relocation will

result in moving costs of approximately $750,000.00, a loss in revenue during the relocation, and

a loss in patient and employees during the relocation of its business.” Plan p.3. But there is no

“Exhibit A” to disclose the methodology for arriving at the relocation cost of $750,000, the

magnitude of the lost revenue, or the extent of patient and employee reductions. The Plan further

provides that general unsecured creditors will receive “up to” 5% of their allowed claims, but there

is no basis to determine whether this payment is based on all of the Debtor’s projected disposable

income. Nor is there any basis to calculate any range in the amount of potential distributions that




4
  The Debtor filed a document at ECF No. 99 described on the docket as “Exhibits In Support of Plan of
Reorganization,” but that document is a one-page “Exhibit A” cover sheet.



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creditors might receive if the Plan were confirmed. The Plan does not provide remedies, such as

liquidation of assets, in the event that payments under the Plan are not made. Instead, the Plan

provides for a vague right, upon the occurrence of an uncured default under the Plan, for a creditor

to seek relief from the Court to enforce the Plan. Lastly, the Plan does not provide for the

Subchapter V Trustee to remain in place in the event the Plan is confirmed on a non-consensual

basis.

The Schedules and Filed Proofs of Claim

         14.     The Debtor has filed its Schedules of Assets and Liabilities (the “Schedules”) [ECF

No. 28]. The Debtor’s Schedules set forth, under penalty of perjury, claims against the Debtor in

the total amount of $5,797,128.17, including the Landlord’s claim which was scheduled at only

$3,222,290.66. Notably, the Debtor did not identify any claim in its Schedules as “Contingent” or

“Unliquidated.”5

         15.     A number of creditors have filed proofs of claim in the Debtor’s case, including the

Landlord (as described below). Many of the creditors that filed proofs of claim also had their

claims scheduled by the Debtor in its Schedules, and the remaining creditors that filed proofs of

claim were not scheduled by the Debtor at all. The sum of the filed proofs of claims is

$4,679,838.96 greater than the amount at which the Debtor scheduled these claims. Thus, once

the claims scheduled by the Debtor in its own Schedules are reconciled against the proofs of claims

filed in the Debtor’s claims register, the total amount of noncontingent unliquidated claims against

the Debtor as of the Petition Date is $10,476,967.13—well above the statutory debt limit of $7.5

million for subchapter V debtors. This amount does not include the Landlord’s claim for Lease


5
 The Debtor did indicate that the claims of the following creditors (with the scheduled amounts) were “Disputed”:
CooperSurgical, Inc. ($1,428.97); c/o Joel Rubenstein (unknown amount); Georgette Fleischer (unknown amount);
Guo Qiang Chen (unknown amount); Juan Cheng (unknown amount); Skyland Construction ($1,030,824.97); and the
Landlord ($3,222,290.66).



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rejection damages described in greater detail below.            A summary of the analysis of the

reconciliation of scheduled and filed claims is annexed hereto as Exhibit A.

The Landlord Claim

       16.     On August 15, 2023, the Landlord filed its proof of claim, designated as claim

number 34 on the Debtor’s claims register (the “Landlord Claim”). A copy of the Landlord Claim

is annexed hereto as Exhibit B. The Landlord Claim asserts a claim in the total amount of

$17,301,956.17 as of the Petition Date, comprised of the following:

                               Description                             Amount
                 Rent and Additional Rent                               $1,628,745.54
                 Rent Credit Clawback                                   $1,418,147.50
                 Security Deposit Claim                                 $2,458,665.00
                 Mechanic’s Lien Claim                                  $1,338,757.27
                 Late Fees                                                  $3,500.00
                 Interest                                                 $152,344.65
                 STB Legal Fees                                             $9,167.00
                 YS Legal Fees                                             $47,479.53
                                                     Subtotal           $7,056,806.49

                 Rejection Damages Claim                               $10,245,149.68

                                                     TOTAL             $17,301,956.17


       17.     Rent and Additional Rent. The Landlord Claim includes a claim in the total amount

of $1,628,745.54 as of the Petition Date for unpaid fixed monthly rent, and additional rent charges,

including but not limited to, charges for electricity, HVAC, condenser water, water, real estate

taxes and miscellaneous maintenance costs, all pursuant to the terms of the Lease. The amount of

this component of the Landlord Claim was calculated based on the amount of fixed monthly rent

set forth in the Lease (see Lease Art. 1E), and the tenant ledger for the Leased Premises maintained

by the Landlord. See also Complaint ¶¶ 21-26, 107-112.




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        18.     Rent Credit Clawback. The Landlord Claim includes a claim in the amount of

$1,418,147.50 for the clawback of certain rent credits that were provided to the Debtor pursuant

to the terms of the Second Amendment of Lease dated December 31, 2021 (the “Second

Amendment”).      Pursuant to the express terms of the Second Amendment, the Landlord’s

agreement to provide the Debtor a rent credit in the amount of $1,418,147.50 is null and void ab

initio if the Debtor, at any time prior to the third anniversary of the Second Amendment, was in

default under the Lease, and the Landlord is entitled to clawback the rent credit. See Second

Amendment § 3; Complaint ¶¶ 27-37. As a result of the Debtor’s defaults under the Lease

beginning in or about October 2022 (prior to the third anniversary of the Second Amendment), the

Landlord is entitled to clawback the rent credit.

        19.     Security Deposit Claim. The Landlord Claim includes a claim in the amount of

$2,458,665.00 in connection with the Debtor’s breach of its obligation under the Lease to replenish

the security deposit. The Lease required the Debtor to furnish a security deposit in the amount of

$2,458,665.00, and to replenish the security deposit within ten days of the Landlord’s application

of all or portion of the security deposit against any defaults under the Lease. See Lease Art. 32A.

The Lease contains a contractual payment obligation for the Debtor to deposit with the Landlord

cash or a new letter of credit for the amount of the security deposit in order for the Debtor to satisfy

its requirement to furnish and maintain a security deposit in the amount of $2,458,665.00. See

Lease Art. 32B. As of the Petition Date, all of the security deposit was depleted because a

substantial portion of the security deposit was drawn down and applied to rent arrears under the

Lease, and the remaining portion of the security deposit was in the form of a letter of credit that

expired and improperly was not renewed by the Debtor. See Complaint ¶¶ 50-74, 113, 121-125.

As of the Petition Date, and currently, the Landlord is not holding any security deposit.




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       20.     Mechanic’s Lien Claim. The Landlord Claim includes a claim in the amount of

$1,338,757.27 in connection with the Debtor’s breach of its obligation under the Lease to “do all

things reasonably necessary to prevent the filing of any mechanic’s or other lien against the

demised premises or the Building.” Lease Art. 8D; see also Complaint ¶¶ 75-76. The Lease

contains a contractual payment obligation requiring that “[i]f any such lien shall at any time be

filed, Tenant shall cause the same to be bonded or vacated and canceled of record within thirty

(30) days after notice to Tenant.” Lease Art. 8D. As a result of the Debtor’s failure to pay for

services performed or materials supplied by Skyland Development Corp. (“Skyland”), on or about

March 17, 2023, Skyland caused to be filed a Notice of Mechanic’s Lien against the Building

asserting a lien against the Landlord’s building for Skyland’s claim in the amount of

$1,338,757.27. See Complaint ¶¶ 114-115; see also Skyland’s proof of claim filed on August 3,

2023, designated as claim number 31 on the Debtor’s claims register, and the exhibits thereto. As

set forth in the Complaint, the Landlord provided to the Debtor notice of the Skyland lien on or

about March 22, 2023, but the lien was never bonded, vacated, or canceled of record. See

Complaint ¶ 99.

       21.     Late Fees. The Landlord Claim includes a claim in the amount of $3,500.00 in pre-

petition late fees to which the Landlord is entitled pursuant to Article 21B of the Lease. See Lease

Art. 21B; see also Complaint ¶¶ 79.

       22.     Interest. The Landlord Claim includes a claim in the amount of $152,344.65 for

pre-petition interest on the Lease arrearages to which the Landlord is entitled pursuant to Article

21B of the Lease. See Lease Art. 21B; see also Lease Art. 25(xv) & (xvi); Complaint ¶¶ 77-78.

       23.     Legal Fees. The Landlord Claim includes a claim in the total amount of $56,646.53

for pre-petition legal fees in connection with enforcement of the Landlord’s rights and remedies




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  under the Lease. The award of attorney’s fees is expressly provided for in the Lease. See Lease

  Art. 20C; see also Complaint ¶¶ 80, 117-120.

            24.    Rejection Damages Claim. The Landlord Claim includes a claim in the amount of

  $10,245,149.68 for damages resulting from the rejection of the Lease (the “Rejection Damages

  Claim”). To reiterate, the Landlord has not included any portion of the Rejection Damages Claim

  for the purposes of the analysis of the amount of noncontingent liquidated claims against the

  Debtor as of the Petition Date to determine the Debtor’s eligibility to proceed as a subchapter V

  debtor.

                                            ARGUMENT

            25.    The Debtor is not eligible to be a subchapter V debtor because its aggregate

  noncontingent liquidated debts as of the Petition Date exceed the statutory limit of $7,500,000.00.

  The Debtor also should not be permitted to proceed as a subchapter V debtor because it failed to

  file a facially confirmable plan within the 90-day statutory deadline to file a subchapter V plan.

I.          The Debtor Is Ineligible To Be A Subchapter V Debtor Because Its
            Debts Exceeded The $7.5 Million Debt Limit As Of The Petition Date

            26.    Bankruptcy Rule 1020(b) provides that, within 30 days of the conclusion of a

  debtor’s section 341 meeting, a party in interest may object to a debtor’s statement in its voluntary

  petition that it elects to proceed under subchapter V of chapter 11. See FED. R. BANKR. P. 1020(b).

  Section 1182 of the Bankruptcy Code governs the eligibility of a debtor to proceed under

  subchapter V of the Bankruptcy Code. Among other things, that section defines a subchapter V

  debtor as “a person engaged in commercial or business activities … that has aggregate

  noncontingent liquidated secured and unsecured debts as of the date of the filing of the petition or

  the date of the order for relief in an amount not more than $7,500,000.” 11 U.S.C. § 1182(1)(A).




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Thus, a debtor who has aggregate noncontingent liquidated secured and unsecured debts 6 greater

than $7.5 million as of the petition date is not eligible to be a subchapter V debtor. Such is the

case with this Debtor, and the Landlord timely brings this objection to the Debtor’ designation as

a subchapter V debtor.

        27.      Here, as shown below, the Court may (i) look to the proofs of claim filed in the

Debtor’s case in addition to the claims listed by the Debtor in its Schedules, (ii) include disputed

debts in considering the $7.5 million debt limit, (iii) allow the Landlord’s claim for replenishment

of the security deposit to count towards the $7.5 million debt limit, and (iv) allow the Landlord’s

claim for damages arising from the Debtor’s breach of its obligations under the Lease resulting

from the filing of the Skyland mechanic’s lien against the Building. Taking all of the foregoing

into account, the Debtor has aggregate noncontingent liquidated secured and unsecured debts as

of the Petition Date in the amount of $10,476,967.13, which is well-above the $7.5 statutory debt

limit for subchapter V debtors.7 The Debtor is therefore not eligible to proceed under subchapter

V and its designation as a subchapter V debtor should be revoked.

        A.       The Court May Consider The Proofs
                 Of Claim Filed In The Debtor’s Case

        28.      The Court’s inquiry into the $7.5 million debt limit under section 1182 is not limited

to the information contained in the Debtor’s Schedules. See In re Hall, 650 B.R. 595, 600 (Bankr.

M.D. Fla. 2023) (considering proofs of claim filed in case in finding that debtor ineligible to be a



6
 “Debt” is defined in the Bankruptcy as “liability on a claim.” 11 U.S.C. § 101(12). “Claim” in turn is very broadly
defined as “right to payment, whether or not such right is reduced to judgment, liquidated, unliquidated, fixed,
contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured, or unsecured.” `11 U.S.C. § 101(5);
see also In re Mazzeo, 131 F.3d 295, 302 (2d Cir. 1997) (“We agree that the term ‘claim’ is sufficiently broad to
encompass any possible right to payment. … In sum, by defining ‘claim’ so broadly and by defining ‘debt’ in terms
of ‘claim,’ Congress has adopted the broadest possible definition of debt.”) (quotations and citation omitted).
7
 This calculation does not include additional claims which may be filed before the September 11, 2023 deadline set
by the Court for the filing of claims.



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subchapter V debtor for exceeding $7.5 million debt limit and noting that “[w]hile the schedules

offer some probative value, the Court will not restrict its inquiry solely to the schedules”); see also

In re Stebbins, Case No. 15-CV-1196, 2016 WL 1069077, at *4 (Bankr. E.D.N.Y. Mar. 17, 2016)

(“Though a Section 109(e) analysis generally begins with a review of the debtor’s schedules, a

court may also consider materials outside of the debtor’s schedules. Neither Appellant nor

Appellees contend that the Bankruptcy Court erred in considering materials outside of Stebbins’

schedules, and the Court concludes that the Bankruptcy Court properly considered the proof of

claim filed by AHL, the Judgment, and the language contained in the Guaranty that gave rise to

the debt owed to AHL.”). “Eligibility is determined by what the Debtors owe on the petition date,

not by what the Debtors think they owe.” In re Hall, 650 B.R. at 600.

       29.     In this case, the Court’s review of the proofs of claim filed against the Debtor is

particularly important and appropriate because what the Debtor has stated it owes may be

substantially different than what the Debtor actually owes. Moreover, the proofs of claim filed by

creditors on the Debtor’s claims register are prima facie valid. See FED. R. BANKR. P. 3001(f) (“A

proof of claim executed and filed in accordance with these rules shall constitute prima facie

evidence of the validity and amount of the claim.”).

       B.      The Court May Include Disputed Debts To Determine
               Eligibility Under Section 1182 Of The Bankruptcy Code

       30.     The plain language of section 1182 excludes contingent and unliquidated debts

from counting towards the $7.5 million debt limit; there is no similar exclusion for disputed debts.

See In re Hall, 650 B.R. at 599 (“Under the plain language of 11 U.S.C. § 1182, disputed debts are

not excluded from the $7.5 million debt limit.”). Accordingly, the Court may consider disputed

claims, including the Landlord Claim and the claim of Skyland, even though the Debtor has




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indicated on its Schedules that those claims are “Disputed.” It is also significant that the Debtor

has not indicated that any of the claims in the Schedules are contingent or unliquidated.

       31.     To the extent that the Debtor contradicts its own Schedules (filed under penalty of

perjury) in which it admits that the Landlord’s claim against the Debtor is liquidated and

noncontingent, the Landlord submits that any argument that the Landlord Claim is unliquidated

and/or contingent would be meritless.

       32.     The Second Circuit has held the following with respect to whether a claim is

liquidated or unliquidated:

                      The terms “liquidated” and “unliquidated” generally refer to a
                      claim’s value (and the size of the corresponding debt) and the ease
                      with which that value can be ascertained. The concept of liquidation
                      for purposes of section 109(e) relates only to the amount of liability
                      not the existence of liability. If the value of the claim is easily
                      ascertainable, it is generally viewed as liquidated. If that value
                      depends instead on a future exercise of discretion, not restricted by
                      specific criteria, the claim is unliquidated.

                      Thus, the courts have generally held that a debt is ‘liquidated’ where
                      the claim is determinable by reference to an agreement or by a
                      simple computation.

In re Mazzeo, 131 F.3d 295, 304 (2d Cir. 1997) (quotations, alterations and citations omitted).

       33.     In this case, the amount of each component of the Landlord Claim is easily

ascertainable by reference to the Lease and simple calculations based on the Landlord’s ledger,

invoices, and/or the notice of the Skyland mechanic’s lien. See In re Stebbins, Case No. 15-CV-

1196, 2016 WL 1069077, at *6 (Bankr. E.D.N.Y. Mar. 17, 2016) (“The Court finds that the

Bankruptcy Court did not err in concluding that the debt in question is liquidated. The claim is

determinable by reference to the note, the Guaranty, the Foreclosure Judgment, and a computation

of interest. The amount due (the full amount of the outstanding indebtedness) was readily

ascertainable from the point in time that Throg’s Neck Trading’s default triggered Stebbins’



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liability.”). The claims asserted by the Landlord all arise from the Debtor’s breaches of the Lease,

and these types of contractual claims are generally considered liquidated. See In re Hall, 650 B.R.

at 599 (“Ordinarily, debts of a contractual nature are subject to ready determination and precision

in computation of the amount due and, therefore, are considered liquidated, even if subject to a

substantial dispute.”) (quotation and citation omitted). Indeed, the Debtor purported to calculate

a claim amount to the penny for the Landlord in its own Schedules, and the Debtor does not state

that the claim is unliquidated.

       34.     Similarly, the Landlord Claim is noncontingent because each component of the

claim arises from the occurrence of the Debtor’s breaches of the Lease, as set forth in detail in the

Complaint. The Debtor’s liability for the amounts due on the Landlord Claim is not contingent

upon the occurrence of some future event. There would be no basis for the Debtor to argue that

the Landlord Claim is contingent, and the Debtor has not indicated on its Schedules that the

Landlord Claim is contingent.

       C.      The Security Deposit Claim May
               Be Included In The Landlord Claim

       35.     The Landlord’s claim in the amount of $2,458,665.00 in connection with the

Debtor’s breach of its obligation under the Lease to replenish the security deposit is a valid

liquidated noncontingent claim that the Court may consider in analyzing the $7.5 million

subchapter V debt limit. The claim is a breach of contract claim that was asserted in the Complaint

in the State Court. It is a claim against the Debtor based on the Debtor’s breach of its obligation

under the Lease (including in the Second Amendment) to furnish and maintain a security deposit

in the amount of $2,458,665.00. See, e.g., In re White River Corp., 799 F.2d 631, 633 (10th Cir.

1986) (“Regarding the lessee’s obligation for the increased security deposit, it is undisputed that

the lessee incurred this debt when the lease agreement was amended, October 30, 1981.”)



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(emphasis added). As set forth in detail in the Complaint, the entire security deposit has been

drawn down or the letter of credit in place of cash security has expired without renewal. The

Landlord held no security deposit at the time it filed the Complaint and does not currently hold

any security deposit.       Thus, the claim to replenish the security deposit in the amount of

$2,458,665.00 is a pre-petition liquidated noncontingent claim against the Debtor and must be

included in calculating the amount of the Debtor’s debts for purposes of subchapter V eligibility.

       D.      The Mechanic’s Lien Claim May
               Be Included In The Landlord Claim

       36.     The Landlord also has a valid prepetition liquidated noncontingent claim for

$1,338,757.27 in connection with the Debtor’s breach of the Lease when the Debtor allowed

Skyland to file a mechanic’s lien against the Landlord’s Building by failing to pay Skyland for

work performed and materials provided to the Debtor with respect to the fifth floor renovations at

the Leased Premises. The mechanic’s lien component of the Landlord Claim is a breach of contract

claim that was properly asserted in the Complaint in the State Court.

       37.     To the extent that the Debtor may argue that the Landlord may not include the

mechanic’s lien component in the Landlord Claim because Skyland has already filed a proof of

claim against the Debtor, that argument is unavailing. The Skyland claim is a different, separate

claim against the Debtor based on the Debtor’s failure to pay Skyland for the services it performed

and the materials it supplied to the Debtor. The Skyland claim is not based on damages as a result

of a breach of the Lease.

       E.      The Debtor’s Aggregate Noncontingent
               Liquidated Debts Is Greater Than $7.5 Million

       38.     With the foregoing considerations in mind, the Landlord prepared an analysis (a

summary of which is annexed hereto) reconciling the amount of debts against the Debtor as of the

Petition Date using the figures provided by the Debtor in its Schedules and the proofs of claim


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filed by creditors on the Debtor’s claims register. Where a creditor’s claim was scheduled by the

Debtor and a proof of claim thereafter was filed by the same creditor, the Landlord applied the

amount in the proof of claim as superseding the scheduled amount. Where a creditor filed a proof

of claim and the Debtor did not schedule the claim or the creditor at all, the Landlord applied the

amount in the proof of claim. The Landlord, however, did not include the following proofs of

claim (or a portion thereof) in its analysis: (ii) the unliquidated claim of the Pension Benefit

Guaranty Corporation (the “PBGC”) asserted in Claim No. 28; (i) the contingent claim of the

PBGC in the amount of $742,319.00 asserted in Claim No. 29; (iii) the post-petition portion (in

the amount of $96,621) of the PBGC claim asserted in the total amount of $212,532 in Claim No.

27; and (iv) the claims of 4 Imprint (Claim No. 21) and CooperSurgical (Claim No. 23) both in the

amount of $44,646.55, which appear to be duplicative of Claim No. 22 of CooperSurgical.8

        39.      As set forth in the reconciliation analysis, the Debtor scheduled a total of

$5,797,128.17 in claims (none of which the Debtor indicated were unliquidated or contingent),

and the proofs of claim filed by creditors asserted a total increase of $4,679,838.96 (not counting

the amounts described in the preceding paragraph) from the Debtor’s scheduled amounts. Taking

the Debtor’s scheduled amount of total claims and adding the increased amount in the filed claims

(other than the amounts described in the preceding paragraph), the Debtor has aggregate liquidated

noncontingent claims in the amount of $10,476,967.13 as of the Petition Date. The Debtor has

debts well in excess of the $7.5 million limit and is ineligible to be a subchapter V debtor.

        40.      The Landlord further notes that, if the Court were to adopt the reasoning of In re

Macedon Consulting, Inc., Case No. 23-10300-KHK, 2023 WL 4004484 (Bankr. E.D. Va. June



8
  The Landlord takes no formal position with respect to whether the 4 Imprint or the other CooperSurgical proofs of
claim are duplicative of Claim No. 22. Out of an abundance of caution, the Landlord is not including Claim Nos. 21
and 23 in its calculation of the aggregate amount of the Debtor’s debts as of Petition Date.



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      14, 2023) that the Debtor’s liability to the Landlord is for the full amount of the rents due under

      the remaining term of the Lease, then there is no question whatsoever that the Debtor’s debts would

      exceed the $7.5 million debt limit. The court in Macedon Consulting, Inc. explained its reasoning

      as follows:

                        [T]he debt at issue is liability under the Leases, and that liability arose pre-
                        petition, on the dates the Leases were fully executed. For example, it could
                        not be said that if the Debtor vacated the premises on the 31st of one month
                        during the lease term, that it would not still owe the landlord for the next
                        month and the remainder of the lease term. While it may be argued that the
                        timing of the payments is the future extrinsic event that may never occur,
                        the Court disagrees. The timing of lease payments is simply that—timing.
                        Absent the end of the world, we know the future date will occur. As a result,
                        liability under the Leases must be considered noncontingent and liquidated,
                        and the Debtor in this case is therefore above the debt limits for subchapter
                        V, which are capped at $7.5 million of aggregate noncontingent liquidated
                        debts.

      In re Macedon Consulting, Inc., 2023 WL 4004484 at *4.

               41.      In this case, the annual rent is over $5 million and there are more than 12 years

      remaining on the lease term. The total liability for the remaining term of the Lease would be over

      $60 million. But the Court need not adopt the reasoning of the court in Macedon Consulting, Inc.

      to conclude that the Debtor owed debts in an amount exceeding 7.5 million as of the Petition Date.

II.            The Debtor Should Not Be Permitted To Continue To
               Proceed Under Subchapter V Because It Failed To File A
               Facially Confirmable Plan Within The 90-Day Statutory Deadline

               42.      The Court should also revoke9 the Debtor’s designation as a subchapter V debtor

      for the separate, independent ground that the Debtor has failed to comply with the statutory

      deadline to file a subchapter V plan because the Plan it filed is facially deficient and unconfirmable.




      9
       The Court has authority to enter an order requiring the Debtor to amend its petition to revoke the election to proceed
      under subchapter V. See, e.g., In re Nat’l Small Bus. Alliance, Inc., 642 B.R. 345 (Bankr. D.C. 2023); In re Serendipity
      Labs, Inc., 620 B.R. 679 (Bankr. N.D. Ga. 2020).



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         43.      The Plan filed by the Debtor just minutes before the deadline to file a subchapter V

plan was to lapse could be charitably characterized as a “placeholder” plan. As noted above, no

liquidation analysis of projections were filed; there is no disclosure regarding the most critical

information impacting on confirmability of the Plan, such as back-up for estimated relocation costs

of $750,000, the magnitude of the allegedly expected resulting lost revenue, or the extent of patient

and employee reductions as a result of relocating; there is no means to determine whether the “up

to 5%” distribution to general unsecured creditors is based on all of the Debtor’s projected

disposable income; there are no provisions for the liquidation of assets in the event that payments

under the Plan are not made; and no provisions for the Subchapter V Trustee to remain in place in

the event the Plan is confirmed on a non-consensual basis.10

         44.      The Plan filed by the Debtor is not sufficient to satisfy its statutory obligation to

file a subchapter V plan within 90 days of the Petition Date. When the Debtor filed the Plan, there

was no hope that the Plan could be confirmed. The placeholder plan that the Debtor filed does not

comport with the legislative intent to provide a streamlined, expedited process for subchapter V

cases. As one court noted, these types of placeholder plans should not be permitted:

                           A placeholder plan is a waste of time and resources for all parties-
                           in-interest and does not represent Congress’s intent in enacting the
                           SBRA. Congress enacted the SBRA to “streamline the bankruptcy
                           process by which small businesses debtors reorganize and
                           rehabilitate their financial affairs.” The purpose of subchapter V is
                           to reduce the barriers and associated costs that prevent small
                           businesses from successful reorganization, in part by reducing the
                           length of time those debtors spend in bankruptcy. The intentionally
                           expedited nature of subchapter V cases dictates an abbreviated
                           deadline under § 1189 that is not intended to be manipulated by
                           placeholder plans. … [F]iling a placeholder plan merely to satisfy
                           the statutory plan filing deadline serves no justiciable purpose,
                           contributes to increased costs, and subverts the intent underlying

10
   The plan deficiencies described in this Objection are not intended to be exhaustive, and the Landlord reserves its
right to raise further objections in the event there is a plan confirmation process.



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                        subchapter V. Thus, this Court disfavors placeholder plans and
                        expects debtors to file substantive, confirmable plans unless
                        situations arise such that an extension is warranted because of
                        circumstances for which the debtor should not justly be held
                        accountable.

In re Baker, 625 B.R. 27, 37-38 (Bankr. S.D. Tex. 2020) (footnotes and citations omitted, emphasis

added).

          45.   It is clear that the Debtor in this case filed its placeholder Plan to create the illusion

of compliance with the deadline under section 1189, and to give it additional time to prepare the

liquidation analysis and projections critical to the Plan. But that is not acceptable. It is a statutory

requirement for subchapter V plans to include a liquidation analysis and projections pursuant to

sections 1190(1)(B) and (C). The Debtor simply flouted these statutory requirements.

          46.   Nor did the Debtor seek an extension of time to file a subchapter V plan that would

not simply be a placeholder plan. Even if the Debtor had sought an extension, it likely would not

have satisfied the stringent standard for an extension under section 1189(b) for filing a subchapter

V plan. Section 1189 of the Bankruptcy Code provides that a subchapter V debtor “shall file a

plan not later than 90 days after the order for relief under this chapter, except that the court may

extend the period if the need for the extension is attributable to circumstances for which the debtor

should not justly be held accountable.” 11 U.S.C. § 1189(b).

          47.   “In considering a motion to extend under § 1189(b), there can be no dispute that

the burden of proof rests with the debtor to establish the limited circumstances under which a court

may grant an extension of the statutory deadline. … Meeting that burden, however, is no small

feat. It is a stringent one.” In re Online King LLC, 629 B.R. 340, 349 (Bankr. E.D.N.Y. 2021)

(denying motion to extend time to file subchapter V plan). See also In re Seven Stars on the

Hudson Corp., 618 B.R. 333, 344 (Bankr. S.D. Fla. 2020) (standard for extension under section

1189(b) is “a clearly higher standard than the mere ‘for cause’ standard set forth in both Federal


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Rule of Bankruptcy Procedures 9006(b) (governing extensions of time generally) and Bankruptcy

Code section 1121(d)(1) (governing extensions of a non-Subchapter V debtor’s exclusive period

to file a Chapter 11 plan)”).

       48.     It is difficult to fathom what circumstances the Debtor could argue would have

attributed to the need for an extension of time for which the Debtor should not justly be held

accountable. The Debtor has known from the first day of the case that it would need to prepare

projections and a liquidation analysis and has informed the Court and parties in interest (including

the Landlord and the Subchapter V Trustee) on multiple occasions that it has been working on

projections. The Debtor’s inability to meet its statutory deadlines is another separate basis to

revoke its election to proceed under subchapter V.

       WHEREFORE, for all the reasons set forth herein, the Landlord respectfully requests that

the Court enter an order revoking the Debtor’s designation as a subchapter V debtor, and grant the

Landlord such other and further relief as the Court deems just and proper.

Dated: New York, New York
       August 15, 2023

                                                     RUBIN LLC

                                                     By:    /s/ Paul A. Rubin
                                                            Paul A. Rubin
                                                            Hanh V. Huynh
                                                     11 Broadway, Suite 715
                                                     New York, New York 10004
                                                     Tel: 212.390.8054
                                                     Fax: 212.390.8064
                                                     prubin@rubinlawllc.com
                                                     hhuynh@rubinlawllc.com

                                                     Counsel for GLL BVK Columbus Circle
                                                     LLC




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             EXHIBIT A
        (Claims Reconciliation)
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                                Scheduled      POC
    Scheduled Creditor           Amount        No.     POC Amount       Difference                                      Notes

NY Dep't of Labor                                 1            $0.00           $0.00
Uline                              $2,813.00      2        $2,813.79           $0.79
United HealthCare                  $2,204.79      3        $2,204.79           $0.00
Bio-Rad Laboratories                $720.35       4         $720.35            $0.00
Staples                            $3,054.55      5        $3,834.16         $779.61
GE Precision Healthcare            $2,993.98      6        $3,171.01         $177.03
First Citizen's Bank                   $0.00      7        $1,626.27       $1,626.27   Scheduled as Konica Minolta
First Citizen's Bank                              8        $2,241.32       $2,241.32
First Citizen's Bank                              9       $46,461.37      $46,461.37
First Citizen's Bank                             10         $952.87          $952.87
Con Ed                                           11        $3,510.93       $3,510.93
Illumina, Inc.                    $12,055.41     12       $32,045.03      $19,989.62
Olympus America                    $5,367.29     13        $7,535.93       $2,168.64
Verizon                            $1,634.59     14        $1,123.10        -$511.49
American Express                       $0.00     15       $52,735.76      $52,735.76
Laboratory Corporation             $4,929.13     16       $12,907.30       $7,978.17
Aetna                                            17        $9,458.61       $9,458.61
Tosoh Bioscience                  $27,702.00     18       $27,702.00           $0.00
Henry Schein                      $54,918.43     19       $62,315.09       $7,396.66
IRS                                    $0.00     20       $68,110.67      $68,110.67
                                                                                       Appears to be duplicative of POC No. 21 from 4 Imprint and POC No. 23
CooperSurgical                     $1,428.97     22       $44,646.55      $43,217.58   from CooperSurgical (POCs 21 and 23 not included)
Nixon Peabody                      $5,525.00     24        $8,735.00       $3,210.00
CooperGenomics                   $922,042.00     25      $993,491.00      $71,449.00
Origio                            $43,217.00     26       $44,646.55       $1,429.55
                                                                                       Claim amount is $212,532, but only $115,911 is pre-petition (PBGC's
                                                                                       unliquidated claim (No. 28) and $742k contingent claim (No. 29) also not
PBGC                                             27      $115,911.00     $115,911.00   included)
Airgas                             $5,036.39     30        $14,550.98      $9,514.59
Skyland Construction           $1,030,824.97     31     $1,388,076.25    $357,251.28
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NYS Dept. of Taxation                 $0.00   32        $20,263.30      $20,263.30
MatTek                            $3,526.46   33         $3,526.46           $0.00
GLL BVK Columbus Circle       $3,222,290.66   34     $7,056,806.49   $3,834,515.83   POC amount does not include rejection damages


Total Scheduled Claims        $5,797,128.17

Total Discrepancy                                                    $4,679,838.96

Total Reconciled Amount      $10,476,967.13
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                  EXHIBIT B
               (Landlord’s POC)
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  Fill in this information to identify the case:

  Debtor 1              Zhang Medical P.C., d/b/a New Hope Fertility Center
                        __________________________________________________________________

  Debtor 2               ________________________________________________________________
  (Spouse, if filing)

  United States Bankruptcy Court for the: __________  District
                                          Southern District      __________
                                                            ofofNew York

  Case number            23-10678-pb
                         ___________________________________________




 Official Form 410
 Proof of Claim                                                                                                                                                     04/22

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:        Identify the Claim

1. Who is the current
   creditor?
                                      GLL  BVK Columbus Circle LLC
                                      ___________________________________________________________________________________________________________
                                      Name of the current creditor (the person or entity to be paid for this claim)

                                      Other names the creditor used with the debtor      ________________________________________________________________________

2. Has this claim been                ✔ No
                                      
   acquired from
   someone else?                       Yes. From whom? ______________________________________________________________________________________________________

3. Where should notices               Where should notices to the creditor be sent?                               Where should payments to the creditor be sent? (if
   and payments to the                                                                                            different)
   creditor be sent?
                                      Rubin LLC; attn: Paul Rubin
                                      _____________________________________________________                       _____________________________________________________
   Federal Rule of                    Name                                                                        Name
   Bankruptcy Procedure
   (FRBP) 2002(g)                     11 Broadway, Suite 715
                                      ______________________________________________________                      ______________________________________________________
                                      Number      Street                                                          Number      Street
                                      New York                   NY           10004
                                      ______________________________________________________                      ______________________________________________________
                                      City                       State             ZIP Code                       City                       State             ZIP Code

                                      Contact phone 212-390-8054
                                                     ________________________                                     Contact phone   ________________________

                                      Contact email   prubin@rubinlawllc.com
                                                       ________________________                                   Contact email   ________________________



                                      Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                      __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __


4. Does this claim amend              ✔ No
                                      
   one already filed?
                                       Yes. Claim number on court claims registry (if known) ________                                  Filed on   ________________________
                                                                                                                                                   MM / DD       / YYYY



5. Do you know if anyone              ✔ No
                                      
   else has filed a proof              Yes. Who made the earlier filing?             _____________________________
   of claim for this claim?




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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number        ✔ No
                                 
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ____ ____ ____ ____
   debtor?



7. How much is the claim?                         17,301,956.17 Does this amount include interest or other charges?
                                   $_____________________________.
                                                                            ✔ No
                                                                            
                                                                             Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                      charges required by Bankruptcy Rule 3001(c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Lease arrearages and rejection damages
                                 ______________________________________________________________________________



9. Is all or part of the claim   ✔ No
                                 
   secured?                       Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                            Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                             Attachment (Official Form 410-A) with this Proof of Claim.
                                            Motor vehicle
                                            Other. Describe:             _____________________________________________________________



                                           Basis for perfection:          _____________________________________________________________
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $__________________
                                           Amount of the claim that is secured:          $__________________

                                           Amount of the claim that is unsecured: $__________________ (The sum of the secured and unsecured
                                                                                                      amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:               $____________________



                                           Annual Interest Rate (when case was filed) _______%
                                            Fixed
                                            Variable


10. Is this claim based on a      No
    lease?
                                 ✔ Yes. Amount necessary to cure any default as of the date of the petition.
                                                                                                                                     7,056,806.49
                                                                                                                              $____________________


11. Is this claim subject to a   ✔ No
                                 
    right of setoff?
                                  Yes. Identify the property: ___________________________________________________________________




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12. Is all or part of the claim    ✔ No
                                   
    entitled to priority under
    11 U.S.C. § 507(a)?             Yes. Check one:                                                                                               Amount entitled to priority

   A claim may be partly                   Domestic support obligations (including alimony and child support) under
   priority and partly                        11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                              $____________________
   nonpriority. For example,
   in some categories, the                 Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                      personal, family, or household use. 11 U.S.C. § 507(a)(7).                                          $____________________
   entitled to priority.
                                           Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                              bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                   $____________________
                                              11 U.S.C. § 507(a)(4).
                                           Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                 $____________________

                                           Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                     $____________________

                                           Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                                     $____________________

                                          * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.



 Part 3:    Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.            ✔ I am the creditor.
                              
 FRBP 9011(b).                 I am the creditor’s attorney or authorized agent.
 If you file this claim        I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts
                               I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                              I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,            and correct.
 imprisoned for up to 5
 years, or both.
                                  I declare under penalty of perjury that the foregoing is true and correct.
 18 U.S.C. §§ 152, 157, and
 3571.
                                  Executed on date         08/15/2023
                                                           _________________
                                                           MM / DD     /   YYYY




                                  8________________________________________________________________________
                                          Signature

                                  Print the name of the person who is completing and signing this claim:


                                  Name                   Brandon                                                   Benson
                                                         _______________________________________________________________________________________________
                                                         First name                   Middle name                   Last name

                                  Title                  President
                                                         _______________________________________________________________________________________________

                                  Company                 GLL BVK COLUMBUS CIRCLE LLC
                                                         _______________________________________________________________________________________________
                                                         Identify the corporate servicer as the company if the authorized agent is a servicer.



                                  Address                420 S. Orange Ave. Suite 190
                                                         _______________________________________________________________________________________________
                                                         Number        Street

                                                         Orlando                                         FL           32801
                                                         _______________________________________________________________________________________________
                                                         City                                           State       ZIP Code

                                  Contact phone          (407) 233-1900
                                                         _____________________________                              Email      brandon.benson@macquarie.com
                                                                                                                                  ____________________________________




           Print                            Save As...                     Add Attachment                                                                 Reset
 Official Form 410                                                           Proof of Claim                                                                page 3
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------x
                                      :
In re:                                : Sub-Chapter V Chapter 11
                                      :
ZHANG MEDICAL P.C., d/b/a NEW HOPE    : Case No.: 23-10678-pb
FERTILITY CENTER,                     :
                                      :
                Debtor.               :
--------------------------------------x

                               RIDER TO PROOF OF CLAIM

       This Rider is annexed to the Proof of Claim filed herewith by GLL BVK Columbus Circle

LLC (the “Landlord”).

       1.      The Landlord is the owner of real property located at 4 Columbus Circle, New

York, New York (the “Building”). The Landlord leased to Zhang Medical P.C. d/b/a New Hope

Fertility Center (the “Debtor”) the entire second, third, fourth and fifth floors (the “Leased

Premises”) in the Building pursuant to that certain Agreement of Lease dated December 31, 2018

(together with all amendments, the “Lease”).

       2.      The term of the Lease expires on October 10, 2035. Annual fixed rent for the term

of the Lease is set forth in the Lease. The Debtor is also responsible for paying other monthly

expenses as set forth in the Lease, including but not limited to, charges for electricity, HVAC,

condenser water, water, real estate taxes and miscellaneous maintenance costs. A copy of the

Lease may be obtained by contacting counsel to Landlord, Rubin LLC, 11 Broadway, Suite 715,

New York, New York 10004 (Attn. Hanh Huynh), hhuynh@rubinlawllc.com.

       3.      On June 30, 2023, the Debtor filed a motion [ECF No. 74] to reject the Lease, and

on July 27, 2023, the Court entered an order [ECF No. 96] authorizing the Debtor to reject the

Lease, effective as of July 20, 2023 (the “Rejection Date”).
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       4.      The Debtor is indebted to the Landlord in the amount of not less than

$17,301,956.17 (the “Claim”), as of April 30, 2023 (the “Petition Date”), as set forth on the

schedule annexed hereto.

       5.      The Claim is based upon pre-Petition Date arrearages for: (i) unpaid rent in the total

amount of $1,628.745.54; (ii) a rent credit claw-back in the total amount of $1,418,147.50, (iii) the

replenishment of the security deposit pursuant to the terms of the Lease in the total amount of

$2,458,665.00; (iv) the filing of a notice of mechanic’s lien dated March 16, 2023 by Skyland

Development Corp. for the furnishment of materials and services to the Debtor for which the

Debtor failed to pay in the total amount of $1,338,757.27; (v) late fees in the total amount of

$3,500.00; (vi) interest in the total amount of $152,344.65; (vii) legal fees for Stern Tennenbaum

& Bell LLP in the total amount of $9,167.00; and (viii) legal fees for Younkins & Schecter LLP

in the total amount of $47,479.53. The bases for each of the foregoing components of the Claim

are set forth in detail in the Complaint (the “Complaint”) filed by the Landlord against the Debtor

on April 18, 2023 in the Supreme Court of the State of New York, County of New York. A true

and correct copy of the Complaint is annexed hereto as Exhibit A.

       6.      The Claim is also based upon damages arising from the rejection of the Lease in

accordance with section 502(b)(6) of the Bankruptcy Code in the amount of $10,245,149.68 as set

forth in the schedule annexed hereto. The Claim does not include the amounts due and owing to

the Landlord in the period following the Petition Date and prior to the Rejection Date, and does

not include amounts due and owing to the Landlord for the Debtor’s post-rejection continued use

and occupancy of the Leased Premises.

       7.      The filing of this proof of claim is not and shall not be deemed or construed as: (a) a

waiver or release of the Landlord’s rights against any person, entity, or property, or a waiver of




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the right to compel the Debtor to return property of the Landlord currently in the possession of the

Debtor; (b) a consent by the Landlord to the jurisdiction of this Court or any other court with

respect to proceedings, if any, commenced in any case against or otherwise involving the Landlord;

(c) a waiver or release of the Landlord’s right to trial by jury in this Court or any other court in any

proceeding as to any and all matters so triable herein, whether or not the same be designated legal

or private rights or in any case, controversy, or proceeding related hereto, notwithstanding the

designation or not of such matters as “core proceedings” pursuant to 28 U.S.C. § 157(b)(2), and

whether such jury trial right is pursuant to statute or the United States Constitution; (d) a consent

by the Landlord to a jury trial in this Court or any other court in any proceeding as to any and all

matters so triable herein or in any case, controversy, or proceeding related hereto, pursuant to 28

U.S.C. § 157(e) or otherwise; (e) a waiver or release of the Landlord’s right to have any and all

final orders in any and all non-core proceedings entered only after de novo review by a United

States District Court Judge; (f) a waiver of the right to move to withdraw the reference with respect

to the subject matter of this proof of claim, any objection thereto or other proceeding which may

be commenced in this case against or otherwise involving the Landlord; or (g) an election of

remedies.

        8.      The Landlord reserves the right to amend and/or supplement this Proof of Claim in

any manner and/or to file additional or other proofs of claim for additional or other claims it may

have against the Debtor, including, without limitation, the costs associated with the Debtor’s

obligation to return the Leased Premises in broom clean condition.




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                                                              GLL BVK Columbus Circle LLC
                   In re Zhang Medical P.C., d/b/a New Hope Fertility Center. ; Case No. 23-10678-pb
                           Post-Rejection Remaining Lease Term*

3rd & 4th Floors
       Post-Rejection Items              8/1/23 - 12/31/23           1/1/24 - 5/31/25
Rent                                            $1,035,925.00              $3,788,974.11

2nd Floor
       Post-Rejection Items               8/1/23 - 4/18/24          4/19/24 - 5/31/25
Rent                                               $891,000.00             $1,384,500.00

5th Floor
        Post-Rejection Items              8/1/23 - 3/24/24          3/25/24 - 5/31/25
Rent                                               $828,740.00             $1,560,165.74

Additional Rent (all floors)              8/1/23 - 7/31/24           8/1/24 - 5/31/25
Electric                                           $284,259.00                $236,882.50
HVAC                                                $46,200.00                 $38,500.00
Condenser                                           $79,152.00                 $65,960.00
Water/Sewer                                          $2,668.00                  $2,223.33

Electric based on 2022 total of $284,259
HVAC based on 2022 total of $46,200
Condenser based on 2022 total of $79,152
Water/Sewer based on 2022 total of $2,668

Subtotals                                        $3,167,944.00              $7,077,205.68

Petition Date 4/30/2023
*Lease rejected as of 7/20/2023; Lease expires 10/10/2035
Total Remaining Rent Term                                147 months
15% Remaining Rent Term                                   22 months


502(b)(6) Cap Analysis
One Year Rent                                    $5,493,371.45
15% Remaining Rent Amount                       $10,245,149.68 (future rent claim capped at this greater amount)

Prepetition Arrearages:
           Rent and Additional Rent              $1,628,745.54
               Rent Credit Clawback              $1,418,147.50
              Security Deposit Claim             $2,458,665.00
               Mechanic's Lien Claim             $1,338,757.27
                           Late Fees                 $3,500.00
                             Interest              $152,344.65
                      STB Legal Fees                 $9,167.00
                       YS Legal Fees                $47,479.53
Total Prepetition Arrearages                     $7,056,806.49 (not subject to 502(b)(6) cap)


TOTAL CLAIM                                                                $17,301,956.17
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                    EXHIBIT A
                  (COMPLAINT)
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          SUPREME                   COURT            OF THE              STATE              OF      NEW YORK
          COUNTY               OF      NEW YORK
          _____________--_____------------__----------__________________________                                                          x
                                                                                                                                          :
          GLL       BVK            COLUMBUS                    CIRCLE                LLC,                                                 :          Index       No.
                                                                                                                                          :

                                                                        Plaintiff,                                                        :          Date       Index     No.    Purchased:

                                                                                                                                          :
                                                          -against-                                                                       :          SUMMONS
                                                                                                                                          :
         ZHANG                MEDICAL,                     P.C.,         d/b/a          New          Hope             Fertility:

          Center,                                                                                                                         :
                                                                                                                                          :
                                                                       Defendant.                                                         :
                                                                                                                                          :
         ___----------______-____-___________________--------------------------                                                        x


                      ZHANG                 MEDICAL,                  P.C.,
                      d/b/a         NEW       HOPE             FERTILITY                    CENTER
                                                                4th
                      4 Columbus                   Circle,          FlOOT
                      New           York,      New           York       10019


                      To      the      above        named            Defendant:


                      YOU            ARE       HEREBY                  SUMMONED                        to    answer           the      complaint                   in this    action        and     to serve   a

         copy       of your          answer,         or,     if the      complaint             is not        served          with             this    summons,               to serve       a notice      of

         appearance,                on the     Plaintiff's             attorneys            within          20    days        after           service           of this      summons,             exclusive
         of the      day      of     service        (or    within            30   days      after      the       service           is complete                  if this      summons           is not

         personally           delivered            to you           within        the    State       of New             York);            and         in case        of your      failure         to appear

         or answer,           judgment             will       be taken            against        you        by    default           for        the     relief       demanded            in the

         complaint.


                      The          basis    of venue           is Plaintiff's               principal            place        of business                    and     CPLR        §§ 501        and      503.



         Dated:       New           York,      New         York
                      April          17,    2023


                                                                                                       STE                                    ENBAUM                      BE            L,LP



                                                                                                       By:
                                                                                                                             aren         S. Frie            an

                                                                                                       380       L        ington              Av        ue
                                                                                                       New           York,         New           York           10168

                                                                                                       (212)          792-8484                  (Telephone)
                                                                                                     Attorneys               for      Plaintiff




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           SUPREME                    COURT             OF THE           STATE               OF       NEW YORK
          COUNTY                  OF NEW                YORK
          ----------------------------------__----------------------------------                                                      Ç
                                                                                                                                      :
          GLL        BVK          COLUMBUS                     CIRCLE               LLC,                                              :      Index        No.
                                                                                                                                      :

                                                                       Plaintiff,                                                     :      COMPLAINT
                                                                                                                                      :
                                                          -against-                                                                   :
                                                                                                                                      :
          ZHANG                       MEDICAL,                   P.C.,              d/b/a             NEW                  HOPE:
          FERTILITY                    CENTER,                                                                                        :


                                                                       Defendant.                                                     :
                                                                                                                                      :
          ----------------------------------------------------------------------                                                      x


                                                                                                                                   ("GLL"
                         Plaintiff            GLL       BVK        COLUMBUS                       CIRCLE                  LLC                       or "Landlord"),             by   its



         attorneys,             Stern         Tannenbaum               & Bell          LLP,           for    its     Complaint            against       defendant           ZHANG

                                                                                                                                          ("Zhang"
         MEDICAL,                     P.C.,     d/b/a     NEW          HOPE            FERTILITY                      CENTER                                or "Tenant")             alleges       as


         follows:


                                                                                                      PARTIES


                         1.              GLL        is a Delaware                  limited        liability           company             with      an address        c/o     GLL      Real       Estate



         Partners,            Inc.,     420      South       Orange          Avenue,              Suite            190,    Orlando,          Florida        32801.


                        2.               GLL        has    a principal              place        of business                in New          York.


                        3.               Upon       information               and       belief,         Zhang             is a New        York       professional            corporation,


         authorized             to do         business        in the       State       of New               York,         with     a place       of business          at 4 Columbus



         Circle,       New            York,     New        York.


                        4.               Upon       information               and      belief,          Zhang             does    business          under       the   name      New        Hope



         Fertility        Center.


                                                                          JURISDICTION                               AND          VENUE


                        5.               Jurisdiction           over       Zhang             exists         pursuant         to    CPLR          § 301.




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                          6.               Venue           is properly                  laid      in New            York        County             pursuant           to CPLR               §§ 501         and     503


          because              GLL       resides           in New             York          County.


                          7.               Venue           is also           proper            pursuant             to Article           44       of the     Original              Lease       (defined            below)


          in     which         the      parties         agreed             that     any        action         not    subject           to arbitration                under         the      lease,     "shall       be


                                                                                                                                                                                    York."
          adjudicated                in the        state      or federal                courts          sitting         in New           York           County,         New


                          8.               The      disputes                underlying                 this    action          are     not      subject          to arbitration               under        the     Lease.


                                                                                                       BACKGROUND


                          9.               GLL          is the       landlord               and        Zhang         is the        tenant         pursuant           to an Agreement                       of Lease


         dated          as of     December                 31,      2018           (the        "Original            Lease"),             as amended                by      the     undated


         Commencement                         Date         letter          (the     "Commencement                            Date         Letter"),          the     First        Amendment                 of Lease


         dated          as of     May        6, 2019             (the        "First         Amendment"),                        the      letter         agreement              dated        as of     October         28,


         2019       (the        "October             2019         Letter            Agreement"),                     which           letter       agreement             was        modified           by


         amendment                   to letter          agreement                  dated         as of        January          23,      2020        (the     "January               2020       Amendment"),

                                                                                                                                                                                                     Amendment,"
         and      the     Second            Amendment                       of Lease             dated         as of        December               31,     2021         (the      "Second


         and      together           with         the    Original                 Lease,         the     Commencement                           Date       Letter,         the     First      Amendment,                  the


         October           2019          Letter         Agreement,                    and       the     January             2020        Amendment,                   the       "Lease")          covering           the



         Second,           Third,          Fourth,           and        Fifth         Floors           (the    "Demised                 Premises")                in the         building        known            as Four


         Columbus                Circle,          New         York,               New       York          10019         (the       "Building").


                         10.              The      Lease            will      expire            by     its    terms,        unless            earlier      terminated,               on      October             10, 2035.


                                                                                                      The      Prior         Action



                         11.              On or about                  March              10,     2021,         GLL         commenced                    an action             against        Zhang         in the



         Supreme               Court,       New          York          County,              titled        GLL         BVK          Columbus                Circle          LLC         v. Zhang         Medical,



         P.C.,     d/b/a         New        Hope           Fertility              Center,            Index        No.       651608/2021                   (the      "2021          Action"),           asserting




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          claims            against          Zhang         for     failure       to pay           rent,      failure         to provide            security,          failure           to discharge                a lien


          filed       on the            Building,          and       for     improperly                subletting             and/or        permitting              others         to use        the        Demised



          Premises.


                            12.              The       2021        Action        asserted             causes          of    action         for   breach           of the      existing           Lease,


                                             attorneys'
          account            stated,                                fees,      and        specific          performance.


                            13.              No answer               was      served            or filed,       including              because           the      parties         were         engaged            in


          settlement                   discussions.


                            14.              On or about              December                  31,    2021          (the     "Execution                Date"),        the        parties        entered           into


         the      Second               Amendment.


                            15.              On or about              January             26,     2022,        the       2021        Action        was      discontinued.


                            16.             The        present        action         arises        from        Zhang's              continued            breaches            of the           Lease.


                            17.             As      set forth         in full      below,             Zhang          has      breached            the     Lease,          inter      alia,      by     failing           to



         pay       Rent          (as hereinafter                  defined),          by     failing         to replenish               and       provide          security,             and     by     permitting


         the      filing          of    a lien      against         the      Building            and       failing          to have        same         removed.


                            18.             As      a result        of Zhang's               breaches,               GLL        is entitled          to damages,                  to an award                of


                                                                                          attorneys'
         specific            performance,                  to recover            its                            fees,        and      to the      additional              remedies              set forth          in the



         Lease,            including             the     Second            Amendment,                  discussed               in   full    below.


                           19.              The        relevant        terms         of the        Lease         are        set forth         below.



         A.                                 Rent        Provisions


                           20.              Pursuant             to Article          2 of the             Original           Lease,        as modified               by     Paragraph                7(f)     of the



         Second             Amendment,                    the     Demised              Premises             were         rented        to be used           only       for        the    Permitted                Use



         defined            as "medical,                 administrative                   and     executive                office      uses      including,            without              limitation             for




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                                                                                                                                                          uses"
          medical             offices         for     fertility           specialists...and                other       lawful                                           and      as further           defined
                                                                                                                                      ancillary


          and       limited         in Article             2 of the           Original          Lease.


                           21.               Pursuant             to Article            1E of the         Original           Lease,        Zhang          is obligated               to pay         to GLL


          Fixed        Rent        in equal            monthly              installments              in the       amounts            set forth       in that            provision           ("Fixed


          Rent").


                           22.               As     of the         date     hereof,         Zhang         is obligated            to pay          to GLL           monthly             Fixed        Rent       in


          the     amount           of    $409,777.50.


                        23.               Pursuant                to Article            1F of     the     Original           Lease,        Zhang          is obligated               to pay         to GLL


         Fixed         Rent        in advance                on the          first      of each       calendar          month          without            any      notice         or demand                therefor


         and      without           any       abatement,                  set-off,         or deduction             whatsoever,             except          as expressly                   set forth          in the


         Lease.


                        24.               Article            1F of the           Original         Lease        further          provides           that     all     sums          other      than       Fixed


         Rent       payable             by    Tenant              under       the      Lease      shall     be deemed                 additional           rent         ("Additional              Rent")            and


         shall      be payable                within          thirty        days        after   receipt        of     an invoice            by     Tenant,              unless       other       payment


         dates       are      set forth             in the        Lease.


                                                                                                                                                                                                     "rent"
                        25.              Pursuant              to Article              1I of the        Original         Lease,          Additional               Rent        is deemed                             and


         Tenant's             failure         to pay         Additional                Rent     is considered                a failure       to pay          Fixed          Rent          such      that


         Landlord             is entitled             to all       rights        and       remedies         under        the     Lease       and      the         law     for     a default          in the


         payment            of    Additional                 Rent         as it would           be entitled            to for      a default          in the            payment            of Fixed           Rent.


         (Fixed        Rent        and        Additional               Rent          are   sometimes           referred           to herein           collectively                 as "Rent.")


                       26.               Among               the     items           of Additional           Rent        due      from      Zhang           under          the     Lease         are,      without



         limitation,             real    estate         escalation               charges        pursuant             to Article          4 of the          Original              Lease,      operating


         expense           escalation               charges            pursuant            to Article        5 of      the      Original          Lease,          electricity             charges




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          pursuant               to Article          7 of the         Original         Lease,              water        charges        pursuant          to Articles                 31A(i)          and     31F         of


          the      Original           Lease,         HVAC             charges         pursuant              to Article            31A(i)        of the         Original          Lease,             charges         for



          security           pursuant             to Article          31J     of the         Original              Lease,      and      charges          for     the        review       of plans             and


          drawings               pursuant           to paragraph              8 of the           Second             Amendment                  and     for     other         services          pursuant             to


          paragraph               9 of the          Second        Amendment.


                           27.             In paragraph               5 of the         Second              Amendment,                  Tenant          acknowledged                     that        it was     then


          in     arrears         in the       payment           of Rent          due       under           the      Lease      in the        amount          of $3,988,264.73                         (the


         "Arrears").


                           28.             In paragraph               5 of the         Second              Amendment,                  Tenant          agreed           to (and         subsequently


         did)      repay          to GLL           the     Arrears.


                           29.             Pursuant           to paragraph                3(a)        of    the      Second          Amendment,                 Zhang           was      afforded             an


         abatement                of its        obligations           to pay         Fixed        Rent           with     respect          to the      Second           Floor         Premises               and     the


         Fifth       Floor         Premises              (as those       terms         are       defined            in the        Original       Lease)           for       a period           of    seven


         months            commencing                    on the       Execution              Date          of the        Second         Amendment,                    ig.     December                31,     2021


         (the      "Second            Amendment                  Rent        Credit").


                        30.                As     set forth       in said           paragraph               3(a),       the   aggregate              value       of the        Second               Amendment


         Rent       Credit          with        respect        to the       Second           Floor          Premises           was      $693,000.00.


                       31.                 As     set forth       in said           paragraph               3(a),       the   aggregate              value      of the         Second           Amendment


         Rent       Credit          with        respect       to the        Fifth      Floor          Premises              was      $725,147.50.


                       32.                 The     total      aggregate             value        of the           Second          Amendment                  Rent       Credit         was



         $1,418,147.50.


                       33.                 Pursuant           to paragraph                3(b)        of   the      Second           Amendment,                 the     Second           Amendment



         Rent       Credit          would          be null      and      void        ab      initio        if    at any       time     prior     to the         third        anniversary                of the




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          Execution                Date,        Tenant         is in monetary                   default       under         the     Lease        (after            affording            Tenant        the


          applicable               opportunity                to cure),          and      in such         event,      GLL          is entitled,              inter      alia,     to recover            the


          Second           Amendment                    Rent        Credit         (the     "Second           Amendment                   Rent         Credit          Clawback").


                          34.              The       third      anniversary                 of the       Execution           Date        will      be December                     31,      2024.


                          35.              The       third      anniversary                 of the       Execution           Date        has     not         yet     occurred.


                          36.              As      set forth         in full       below,            Zhang         is in default           of    its     obligation               to pay         Rent



          accruing             since       the     execution              of the       Second           Amendment                  and     of    other         monetary                 obligations           under


         the     Lease            and   has       not      cured       those        defaults           despite        due     notice        and        demand.


                         37.               Therefore,               GLL       is entitled             to recover         from           Zhang          the     Second            Amendment                  Rent


         Credit          Clawback                in the       amount          of      $1,418,147.50.


         B.                                       Reimbursement                     for     Tenant         Work        Provisions


                         38.               Pursuant            to   Section            3C    of the       Original          Lease,         Tenant             was       required            to perform,            at


         its     own      expense,               certain       alterations             to prepare            the     Demised             Premises              for     its      occupancy,              subject         to


         Exhibit          F to the           Original           Lease.


                         39.               Exhibit           F to the        Original           Lease        provides             for    certain         payments                to be made                by GLL


         to Tenant,               in accordance                 with       the     terms        of     Exhibit        F, to reimburse                   Tenant            for     its     actual,


         documented                  expenses              incurred          pursuant            to     Section       3C      of the        Original               Lease.         These          payments


         are     defined           in   Exhibit            F as Landlord's                   Contributions.


                         40.               The       amount          of    Landlord's                 Contributions               set forth        in Exhibit                   F to the         Original


         Lease         was        modified            and      reduced           by       and    as set forth           in paragraphs                   7(i)-(m)             of the        Second



         Amendment.


                         41.            Exhibit              F to the        Original           Lease        expressly            provides             (at paragraph                    8) that       Landlord



         shall     not       be    obligated               to pay      any       portion         of Landlord's                Contributions                    to Tenant                if the      work      which




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          is the         subject        of the        applicable              Landlord's               Contributions                         (or     any      portion        thereof)            shall       not    have


          been          completed,              and     the     applicable              Landlord's                Contributions                          shall      not    have      been        requested            by      or


          disbursed              to Tenant,             on or before              December                             2022         (the        "Original             Lease         Landlord              Contribu-
                                                                                                            31,


          tion     Deadline").


                          42.                Tenant's           work      which          is subject               to Landlord's                       Contributions                 was      not       complete


          and/or          Landlord's               Contributions                 were         not     disbursed                   in full          or requested             on      or before            December



          31,     2022.


                          43.                The     Original           Lease          Landlord             Contribution                        Deadline             was    extended              by      paragraph



          8(ii)     of the         Second           Amendment                  to December                   31,        2023            (the       "Initial         Alterations            Modification").


                          44.                Paragraph           3(b)      of the        Second             Amendment                          provides             that   in the      event           Tenant         is in


         default          under        the      Lease         (after     affording              Tenant            the        applicable                  opportunity              to cure),         Landlord



         may,       in     addition            to all     its    other        rights         under         the    Lease,             under           the      law      or at equity,             inter       alia


                                                                          Modification."
         revoke           the     "Initial         Alterations


                          45.            Paragraph               8 of the         Second             Amendment                       further             provides          that     "[t]he         Initial


         Alterations               Modification                 shall      be null           and      void        ab     initio           if Tenant              shall     be in default                 under      the


                                                                                                                                                                           cure."
         Lease          after      Landlord             has     afforded          Tenant             the     applicable                  opportunity                  to


                          46.            As        set forth       below,          Zhang             is in default                 of     its      obligations             to pay         Rent         accruing


         since      the        execution            of the       Second           Amendment                      and         of    its    other          obligations              under      the        Lease,        and


         has      not     cured        such        defaults         despite            due     notice            and    demand.


                         47.             GLL          is entitled         to and          has        revoked            the        Initial          Alterations             Modification;



         accordingly,                requests           for     payment           of     installments                   toward               Landlord's               Contributions                 for      work



         theretofore              completed              must          have     been          duly      made            by        Tenant            on     or before          December                 31,    2022.




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                             48.             Tenant            is not      entitled               to any        portion             of     Landlord's               Contributions               not        duly


          requested                by   Tenant            in accordance                        with      the    Lease           on        or before           December              31,      2022.


                             49.             To     the        extent      GLL             disbursed             any         portion             of Landlord's                Contributions                 to Tenant


          pursuant             to a disbursement                          request              submitted            by       Tenant              to GLL        after       December                 31,    2022,        GLL


          is entitled              to recover              any      sums           so paid.


          C.                                 Security


                             50.            Pursuant              to Article               32A         of the       Original                  Lease,      Tenant          is required           to provide



          security            to Landlord                 ("Security")                    in the        form       of    "one             or more          clean,        irrevocable            and


                                                                 credit..."
         unconditional                    letters         of                              in the        total      amount                of    $2,458,665.00,                 to secure             "the     faithful


                                                                                                                                                                                                              Lease..."
         performance                    and       observance                  by     Tenant             of the      terms,               conditions            and       provisions            of this


                          51.               Pursuant             to Article                32A         of the      Original                   Lease,      if Zhang            defaults         with        respect         to



         any      of    the        terms,         provisions               and       conditions                 of the         Lease,            beyond            the   expiration            of     any     applicable


         notice         or cure           periods,             including                 but     not     limited         to,        the       payment          of Rent          and       Additional               Rent,


         Landlord              may          apply         or retain           the        whole          or any          part        of     the     Security          to the        extent      required             for    the


         payment              of    the      amounts              due.


                         52.                Pursuant             to Article               32A          of the      Original                   Lease,      if GLL          applies         or retains              any     part


         of    the     Security,             Tenant,             within            ten     business             days         after        notice        from        GLL        must         deposit         with        GLL


         the     amount             so applied              so that           GLL              shall    have       the       full         Security         required           by    the      Lease          on hand          at


         all   times          during          the    term         of the           Lease.


                         53.                Pursuant             to Article               32B          of the      Original               Lease,          if Tenant           provides          a letter           of credit


         as Security,                at any         time        that      Tenant               is in    default          under            the      Lease       beyond           any       applicable              notice



         and      grace         period,           Landlord              may         draw           down         on the          entire           Letter       of     Credit        in whole           or in part           to



         apply         the     proceeds             thereof.




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                            54.            Pursuant             to Article               32B        of the         Original           Lease,       if GLL           applies         or retains         any     part



          of    the     Security           posted          in the          form          of     a letter      of     credit,         Tenant,       within           ten     business         days      after



         notice         from        GLL          must       deposit            with           GLL        cash       or a new           letter      of credit          so that        GLL       shall      have         the



         full      Security          required             by        the    Lease          on hand            at all         times      during        the     term         of the     Lease.



                         55.               Pursuant            to paragraph                     6(a)       of the       Second          Amendment,                    Zhang         acknowledged                  that,


         GLL          had,        in accordance                 with        its    rights          under         the        Lease,     previously              applied          a portion         of the



         Security            posted         by      Zhang,            in the        amount              of   $1,958,665.00                  (the      "Security             Deposit          Deficiency")                 to


         certain         arrears           owed       by       Zhang.


                         56.               Pursuant            to paragraph                     6(a)       of the       Second          Amendment,                    Zhang         agreed       to replenish


         the      Security          Deposit           Deficiency                   in thirteen               equal          monthly        installments                of    $150,665.54               each,



         beginning                on the      date        it executed               the         Second           Amendment                 (defined           in paragraph                5 thereof          as the



         "Amendment                   Delivery              Date").


                         57.               Pursuant            to paragraph                     6(b)       of the       Second          Amendment,                    Zhang         was     permitted             to



         make         the      monthly             installments                of the           Security            Deposit           Deficiency             in cash          but    was      obligated



         within         thirty       days        of the        due         date     of the          last     installment               of payment              of     Security,           to deliver         to



         GLL          a Letter        of    Credit         in the           aggregate               amount             of    the     Security,        in form             reasonably           acceptable              to



         GLL,         time        being       of    the     essence               (the        "Security            Deposit            Substitution             Date").



                         58.              Zhang         did         not     make          all     the      installments               of the      Security            Deposit         Deficiency             and



         did    not      provide           a Letter            of     Credit        in the          aggregate                amount        of the          Security         Deposit.



                        59.               Zhang         replenished                   $1,506,665.38                        of the     Security         in     cash.



                        60.               Zhang         failed            to replenish                 certain         installments              of the       Security          Deposit          Deficiency,


         in the       aggregate             amount             of     $451,999.62,                      as required             by     paragraph             6(a)     of the        Second



         Amendment,                  despite          due           demand.




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                             61.              Pursuant             to paragraph                 6(a)      of the       Second              Amendment,                  Zhang's              failure         timely         to



          pay         any       installment              of the          Security          Deposit             Deficiency                (after     affording            Tenant             the      applicable



          opportunity                     to cure)       is deemed                 an event             of default          under          the     Lease        in which                event       GLL          is


          entitled            to accelerate                 the    remaining                 Security          Deposit             Deficiency               such      that        all     amounts           are due


          and      payable                 immediately                 to GLL            in full        upon      demand,                time      being       of the        essence.


                             62.              GLL        is entitled              to and        did      demand            full      payment            from        Zhang               of the      remaining


         unpaid              Security             Deposit          Deficiency.


                             63.              Zhang         has         failed      and      refused           to pay          the    remaining               unpaid         Security               Deposit


         Deficiency.


                             64.              Pursuant            to Article              32F      of    the    Original             Lease,         if the      Lease         is in full            force        and


         effect         and         Tenant          is not        and       has     not      been,        in the       prior         12 months,               in default            under           the    Lease,         the


         amount              of     the      Security         Deposit              shall        be reduced,               on      notice         from       Tenant,          by         $409,777.50               on each


                                                                                                                                                Date"
         of     the     fifth        anniversary              of the             "Last      Rent        Commencement                                        (the    "First          Reduction               Date");


         the      seventh             anniversary                 of     such       date      (the      "Second            Reduction                Date");         and       the        tenth       anniversary                of


         such         date         (the      "Third         Reduction               Date").


                            65.              As       set forth          in the          Commencement                      Date          Letter,        the    "Last         Rent         Commencement


         Date"
                       was          April         10,   2020,            so the      First       Reduction                Date,          if applicable,             would           be April              10,    2025.


                            66.              Pursuant             to paragraph                  6(c)     of the        Second              Amendment,                  if Zhang             fully         and     timely


         replenished                  the     Security            Deposit            Deficiency                and     was         not     and      had       not   been          in monetary                   default


         under         the        Lease        beyond             the     expiration               of   any     cure       period,           the    First       Reduction                 Date       provided             for


         in Article                32F      of the       Original                Lease       would         be accelerated                   to the         Security          Deposit              Substitution



         Date         (the        "First       Reduction                 Date       Acceleration").




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                           67.          Pursuant              to paragraph                 6(a)          of the         Second            Amendment,                        Zhang's               failure        to timely



          pay       any     installment             of the       Security              Deposit                Deficiency              (after         affording                 Tenant             the     applicable



          opportunity               to cure)           is deemed            an event               of        default         under         the     Lease            in which              event          GLL        is


          entitled         to reverse            the    First        Reduction               Date            Acceleration.


                           68.          Zhang           has     no right             to the        First          Reduction               Date           Acceleration.


                          69.           GLL         has       reversed           the       First         Reduction                 Date      Acceleration.


                          70.           As     set forth             in full       below,           following                 Zhang's              further           default             in the         payment            of



          Rent,       GLL          applied        the     Security             on hand,             in the           amount           of     $1,506,665.38,                         to Zhang's                 arrears.


                          71.           Zhang           has     failed,         despite            due         demand,             to replenish                  the       Security              following               that


         application.


                          72.           Pursuant             to Article              32B        of the            Original           Lease,          any       letter          of credit              provided            by


         Zhang         as security            must        either          expire         on the              date      which         is sixty             days       after         the        expiration            or earlier


         termination               of the     Lease           or be automatically                              self-renewing                     until        such         date.


                          73.          The       Letter         of    Credit          issued            by        JPMorgan                Chase           Bank         (#CTCS-701537)                              in the


         amount            of     $500,000.00             (the        "JPMorgan                    Chase             LC")      expired              as of May                31,     2021,              and      has     not


         been        renewed          or replaced.



                          74.          As     a result          of Zhang's                 defaults,                GLL        has     no        Security             on hand,                despite          being


         entitled         under       the     Lease          to hold           $2,458,665                    in    Security.


         D.                                  Lien        Provisions


                          75.          Article          8D      of the         Original             Lease            provides             that       "Tenant               shall         do     all     things



         reasonably               necessary            to prevent              the     filing           of     any      mechanic's                 or other             lien       against              the    demised



         premises           or the      Building              or the       interest             of Landlord                   by     reason              of   any      work,             labor,         services          or


                                                                                                                                                                                                                 Tenant..."
         materials              performed           or supplied                or claimed                    to have         been         performed                  for     or supplied                  to




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                           76.              Article         8D       of the           Original              Lease         further        provides                that     "[i]f           any     such          lien    shall      at



          any      time         be filed,          Tenant           shall        cause          the     same         to be bonded                    or vacated               and          canceled               of record


                                                                                                Tenant."
          within          thirty         (30)    days        after        notice          to


          E.                                     Interest,           Late        Fees,          Default             and     Choice           of Law


                          77.              Pursuant              to Article              21B          of the        Original            Lease,         if Tenant                  fails      to pay            Rent       when



          due,     Tenant              must      pay      Landlord                   interest         at the        Interest          Rate       on the            unpaid             amount              from         the   day


          on     which          the      installment               or payment                   is due        to the        date        of payment                  (but          in no         event          is interest


          calculated               and     payable           for        less     than        one       month),             and       such      interest             is deemed                   to be Additional


          Rent.


                          78.              The        Interest          Rate          is defined             in Article              25A(xv)               of the        Original                Lease           to be seven


         hundred               (700)       basis       points           above          the      prime         lending            rate       announced                   publicly                from       time        to time          by


         JP Morgan                 Chase         Bank,           N.A.          (or     its     successor)              at such          time         (or      if less,        the         maximum                  rate


         permitted               by      applicable           law).


                          79.              Article        21B           of the         Original             Lease          further        provides                that     if Tenant                   fails     to pay         Rent


         within        five        business            days        of     it being             due,     Tenant             must       pay      a late            payment              charge             of     $500.00,


         subject          to     an exception                not        applicable               here.


                          80.              Pursuant           to Article                20C        of the        Original             Lease,          "[i]n         the      event           either            party      hereto


         shall     institute             legal       proceedings                  against             the    other         in    connection                 with,         or for           the     enforcement                  of,


         this     Lease,           the    prevailing               party        shall          be entitled             to recover              its    reasonable                    costs         of suit         including

                                   attorneys'                                  disbursements."
         reasonable                                      fees       and


                         81.              Article         38.6          of the         Original             Lease          provides            that        the      Lease           "shall         be governed                  in


                                                                                                              York."
         all    respects           by     the    laws        of the            State         of New




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                          82.                  Pursuant                  to paragraph                       7(d)        of the          Second            Amendment,                              Article               19.(A)(i)          of the


          Lease          is deleted               and          replaced                with         the        following:



                                               "(i)      if Tenant                   fails       to      (i)      pay     when            due      any         Remaining                          Arrears,               any
                                            portion                 of        the      Security                 Deposit            Deficiency                     or     other              charge            or        sum
                                            pursuant                     to     that         certain              Second            Amendment                           of      Lease                 dated         as of
                                            December                          31,       2021             between              Landlord                  and             Tenant                  (the         "Second

                                            Amendment")                                or      otherwise                    perform               any        of         its        obligations                     under
                                            the         Second                  Amendment,                          and       in        any       case,           such             default              continues
                                            for         five        (5)         days          after         Landlord's                   notice         of        such          default                is given              to

                                            Tenant,                 time            being           of      the     essence              (notwithstanding                              anything                    to    the

                                            contrary                 contained                   in this            Lease          or     otherwise);                    or (ii)                pay     when             due

                                            any          other            installment                     of      fixed       annual             rent        or        additional                     rent     or        any
                                            other              charges                 constituting                       rent          and       other             sums               due             under            this

                                            Lease,              and            such          default              continues                for     five           (5)         business                 days          after
                                           Landlord's                          notice          of        such           default          is given              to       Tenant                  (a "Notice"),
                                           time              being             of    the       essence;                 provided,                however,                     that         if    Tenant              shall
                                           default                  in        the      timely               payment                of     fixed          annual                 rent            or     additional
                                           rent          or any                other         charges               constituting                  rent        or other                 sums             due      under
                                           this          Lease,                and         any           such        default             shall         occur             more               than         three            (3)
                                           times               in        any         period               of       twelve               (12)      months,                     or      if         Tenant              shall
                                           default                  in    the          timely             payment                  of     any          Remaining                       Arrears                 or       any
                                           portion                  of         the        Security                 Deposit                Deficiency                     more                   than         two          (2)
                                           times,               then,               notwithstanding                          that          such          defaults                    shall             have          each
                                           been              cured              within                the         applicable                   period          provided                          above,             upon
                                                                                                                                                                                                  days'
                                           further              similar               default,                 Landlord             may          serve         a three                (3)                      notice
                                           of          termination                           upon              Tenant              without               affording                         to         Tenant              an
                                                                                                                                   default;..."
                                           opportunity                         to cure           such             further


                                                                                                      ZHANG'S                       DEFAULTS


                         83.              As           a result               of Zhang's                    defaults,             described               in greater                   detail           below,               GLL      has     been


         damaged.


                         84.              As           a result               of Zhang's                  defaults,               described               in greater                   detail           below,               GLL     has     the


         right     to,    and        has,         accelerated                       the      remaining                    Security              Deposit                Deficiency.


                         85.                As         a result               of Zhang's                    defaults,              described              in        greater                detail        below,                GLL    has



         revoked          the        Initial           Alterations                     Modification                       and       the        First      Reduction                         Date        Acceleration.



                         86.              As          a result            of Zhang's                      monetary                 defaults,             described                     in greater                   detail        below,      GLL


         is entitled           to,     and            has,      demanded                      the        Second             Amendment                     Rent                Credit             Clawback.



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                         87.               By     Notice            dated          February       23,     2023          (the        "February            23 Notice"),               GLL        notified



          Zhang         that       it was         then       in    default:


                                           a.    of    its    obligation              to pay      Fixed         Rent          and      Additional              Rent     due      under         the      Lease      in


                         the      amount,              as of February                  22,     2023,      of     $1,936,846.06                   (the     "Rent         Default");             and


                                           b.    of    its    obligation              to make          three         payments            toward          the     Security           Deposit



                         Deficiency                required            by     Paragraph            6(a)        of the         Second          Amendment                 in the         total     amount          of


                         $451,999.62                   (the       "Security            Replenishment                    Default").


                         88.              In     accordance                 with      Paragraph           7(d)         of    the     Second         Amendment,                   the     February           23


         Notice         afforded               Zhang          5 business              days     to cure         the     Rent         Default         and        5 days        to cure       the       Security


         Replenishment                     Default.


                        89.               Zhang           failed       and         refused       to cure         the        Rent       Default        within          the    cure      period           or to


         date.


                        90.               Zhang           failed       and         refused      to cure          the        Security        Replenishment                    Default           within       the


         cure      period          or to date.


                        91.               By      notice          dated       March           2, 2023          (the     "March            2 Notice"),             GLL         advised          Zhang        that


         pursuant           to paragraph                  3(b)       of the         Second        Amendment,                       due    to Zhang's             failure         to cure         the     Rent


         Default         set      forth         in the       February              23 Notice,          the      Second             Amendment               Rent         Credit         was       null     and


         void      ab    initio       and        demanded                 payment             of the     Second              Amendment                  Rent      Credit         Clawback,               in the


         amount          of    $1,418,147.50.


                        92.               At     the     time       of the         March        2 Notice,             Zhang          had      taken       the    benefit         of the        entire



         Second         Amendment                      Rent        Credit          in the      amount           of    $1,418,147.50.


                        93.               Zhang          has       failed      and      refused         to remit             to    GLL      payment             for    the     Second



         Amendment                 Rent          Credit           Clawback.




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                          94.             The         March          2 Notice               further           demanded                that        Zhang          deliver       to GLL              $500,000             in


          cash       or in the        form            of a Letter              of     Credit          (as     defined             in the                         to be held           as part         of the        Secur-
                                                                                                                                                 Lease),


          ity,      because         the        JPMorgan              Chase             LC had             expired            and      not        been      renewed            or replaced.


                         95.                              has      failed           and     refused            to provide                 $500,000               to be held         as part          of the        Secur-
                                          Zhang


          ity    to replace          the         JPMorgan               Chase             LC.


                         96.              By        notice       dated          March             10,     2023         (the         "March           10 Notice"),              GLL          notified          Zhang


         that       it was       in default             of its       obligation                 to pay         Fixed          Rent         due      under         the      Lease      for      the     month         of



         March,          2023        in the           amount            of     $409,777.50                    (the     "March               Rent        Default").


                         97.              In     accordance                  with      paragraph                7(d)         of     the     Second           Amendment,                  the       March           10


         Notice          afforded              Zhang          5 business               days         to cure          the      March              Rent      Default.


                         98.              Zhang           failed        and         refused            to cure         the        March           Rent       Default         within          the     cure     period         or



         to date.


                         99.              By        notice       dated          March            22,      2023         (the       "March             22    Lien         Notice"),           GLL        notified



         Zhang         that      a lien         had      been        filed          against         the       Building              in the        amount           of $1,338,757.27                     by     Skyland



         Development                 Corp.             arising         from          work         performed                 for      Tenant             at the     Demised            Premises              (the



         "Lien"),          and      demanded                  that      Zhang,            in accordance                      with         Article         8D      of the      Original             Lease,          bond      or



         vacate        and      cancel           of record             the      Lien        on      or before               April         22,     2023.


                         100.         As         of April            12,      2023,         the        Lien      remains              of record.


                         101.         By            further        notice           dated        March           22,        2023          (the      "March          22     Security          Notice"),             GLL


         notified         Zhang           that       GLL         had         applied          the       Security            on      hand         in the      amount           of    $1,506,665.38,


         against         a portion             of     Rent       due         as set forth               in the       February               23 Notice,              the     March           2 Notice          and/or



         the     March          10 Notice.


                       102.           Following                  this        application                of the         Security              Deposit,            GLL        has     no      Security         on hand.




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                           103.             The        March             22     Security            Notice             demanded                 that     GLL        replenish            the     Security                so


          applied          in     accordance                   with       Articles            32A         and      32B             of the      Original         Lease        within            10 business                    days.


                          104.              Zhang          has         failed          and     refused            to replenish                  the     Security          as demanded                     in the         March


          22    Security             Notice            within          the      cure         period            or to date.


                          105.            Each          of the           March            2 Notice,              the     March              10 Notice,          the       March          22    Lien             Notice,         and


         the    March             22    Security               Notice           (collectively                   and      together             with      the    February              23 Notice,                  the



         "Notices"),                 were       without               prejudice              to all       the     prior            notices        and      incorporated               same           by     reference.


                          106.            By      notice              dated        March           27,         2023,         GLL          summarized                for    Zhang         all     of       its    defaults          as


         set forth             in the     Notices               and       GLL's           demands                therein             and      also      advised           Zhang        that      as a result                  of its


         failure       to cure           its    defaults,              the      Initial        Alterations                   Modification                  is revoked             such        that    the         last       day


         for    Landlord's                Contributions                        is and         was      December                     31,      2022,      as set forth            in    Exhibit             F to the


         Original              Lease,       and         that     the       First         Reduction               Date,             if applicable,             is April       10,      2025.



                                                                  AS AND                  FOR          A FIRST                     CAUSE              OF ACTION
                                                                                                      (Breach                of    Lease)


                          107.           GLL            hereby            repeats            and      realleges               the     allegations             contained              in paragraphs                       1


         through           106       above         as though                   fully      set forth             herein.


                          108.           The           Lease          constitutes              a valid           and         binding            contract        between              GLL        and         Zhang.


                          109.           GLL            has      fully         performed                 its    obligations                  pursuant         to the       Lease.


                          110.           Zhang            breached                 the       Lease        by      failing            to pay         to GLL         Fixed      Rent            and     Additional


         Rent       due        and      owing           pursuant               to the         Lease.


                       111.              As       of    April            13,    2023,          and       after         the        application            of   Security          then          on hand             in the



         amount           of     $1,506,665.38,                       Zhang            owes         GLL          Fixed             Rent       and      Additional           Rent         in    an amount                     to be



         determined               at trial        but      believed                to be no           less       than             $3,046,893.04               (exclusive             of interest                 and




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          attorneys'
                                  fees),        which        amount             is comprised                     of     outstanding                     Rent       through          April      13,     2023        and     the


          Second           Amendment                    Rent        Credit         Clawback                    in the        amount                of     $1,418,147.50.


                           112.            The       above          amount            does          not        include           all     Additional                 Rent         charges       due     from        Zhang,


          and      GLL        reserves             its right         to seek           such         Additional                   Rent         charges            and       any     other      applicable               charges


          and      to make           any        appropriate               adjustments                     to the        calculation                     of amounts               due.


                           113.            Zhang         breached               the     Lease             by     failing           to replenish                  the     Security           in the     total      amount


         of     $2,458,665.00                    as set forth             above,             and         as a result,              GLL         has        been         further       damaged           in an amount


         to be determined                       at trial.


                          114.             Zhang         breached               the     Lease             by     failing           to take          steps          reasonably              necessary            to prevent


         the     filing       of the          Lien      against           the    Demised                   Premises              and         the        Building           and     failing      to have           same



         bonded,           vacated,             and     cancelled               of record,                 and       as a result,                 GLL        has       been       further      damaged             in an


         amount            to be determined                    at trial.


                          115.             As    a direct           result       of Zhang's                    breaches                of    the        Lease,         GLL        has     suffered         damages          in


                                                                                                                                                                                                      attorneys'
         an amount                to be determined                     at trial,         plus            interest,           and       the     costs,           disbursements                 and


         fees      incurred           by      GLL        in enforcing                  its    rights           and       remedies                 under          the     Lease.


                          116.             Fixed        Rent        and      Additional                   Rent          arrears             may         continue          to accrue           and     go     unpaid.



         Therefore,               at trial,        GLL       will      seek        payment                  of    all    further             damages               which          accrue      prior        to    and


         through          judgment.


                                                                                SECOND                     CAUSE                 OF          ACTION
                                                                                                    (Attorneys'
                                                                                                                                 Fees)


                          117.          GLL           hereby          repeats           and        realleges               the     allegations                   contained              in paragraphs              1



         through           106,      and        108     through              116      above              as though               fully        set forth            herein.



                          118.          GLL           has    complied                 with         all     terms         of the             Lease         and      has     been         damaged         by       the



         breaches           of the         Lease        by     Zhang.




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                            119.              As       a result      of Zhang's              breaches            of the          Lease,         GLL       has       been     damaged,            inter         alia,


                                                                                         attorneys'
          by      being           required          to incur          costs      and                             fees.


                            120.              Pursuant            to Article         20C       of the          Original           Lease,         upon        prevailing,            GLL       is entitled                 to


                                      attorneys'
          recover              its                         fees      and      expenses           incurred             in    enforcing            its rights          and     remedies           pursuant                to


          the     Lease              in   an amount              to be determined.


                                                                                 THIRD               CAUSE                 OF     ACTION
                                                                                         (Specific              Performance)


                           121.              GLL         hereby         repeats         and    realleges              the    allegations               contained            in paragraphs                1


         through               106,        108     through           112,      114     through           116,         and        118    through           120       above         as though           fully         set


         forth      herein.


                           122.              Zhang         has      failed       to replenish             the     Security              in the     amount            of    $2,458,665.00,                     in


         breach           of      Article          32 of the          Original          Lease,        despite              due    demand           by        GLL.


                           123.              Zhang's             failures      to replenish              the      Security             and      to provide           replacement               letters             of


         credit      have             damaged             GLL        and      deprived           it of    its     bargained               for    rights       under         the     Lease.


                          124.               GLL         lacks      an adequate               remedy            at law.


                          125.               GLL         is entitled          to judgment                                                        to specifically                  perform       its     contrac-
                                                                                                      compelling                   Zhang


         tual     obligation                 under        the     Lease        to replenish              the     Security              in the     total       amount         of     $2,458,665.00,                      in


         accordance                   with       the     terms       and      provisions             of the       Lease.


                                                                              FOURTH                 CAUSE                  OF     ACTION

                                                                                         (Declaratory                  Judgment)


                          126.               GLL        hereby         repeats         and     realleges              the    allegations              contained             in paragraphs                1


         through            106,          108      through          112,      114      through           116,      118       through            120,      and       122     through           125      above            as


         though           fully           set forth       herein.


                     127.                    Upon        information              and      belief,       Defendant                 disputes           that     it is in breach               of the      Lease.




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                      128.                Therefore,                 there       is an actual               justiciable             controversy                 between             the     parties            regarding


         whether       a default              has         occurred             under        the      Lease,          and        a judicial            declaration               is required           so as to


                                                                                       parties'
         determine           certain          of the           respective                                rights        and        obligations.


                      129.                Plaintiff             is entitled            to declaratory                 judgment                that:


                                         a.                the       Initial         Alterations             Modification                     has     been       duly       and         properly          revoked


                       such        that       requests               for     payment            of      installments               toward             Landlord's                Contributions                   for     work


                      theretofore                    completed                 must       have       been         duly       made         by        Tenant          on    or before           December                     31,


                      2022;             Tenant            is not       entitled           to any         portion           of    Landlord's                  Contributions                 not     duly         requested



                      by      Tenant            in accordance                      with      the        Lease        on     or before               December               31,     2022;          to the        extent


                      GLL          disbursed                   any     portion            of Landlord's                   Contributions                     to Tenant            pursuant           to a


                      disbursement                        request            submitted             by     Tenant           to GLL             after       December                31,     2022,       GLL             is


                      entitled            to recover                 any       sums         so paid;          and




                                         b.                the       First      Reduction                Date        Acceleration                   has      been        duly      and      properly             revoked



                      such        that        the     First          Reduction              Date,        if applicable,                 is April             10, 2025.




                     130.                Plaintiff             lacks         an adequate                remedy            at law.



                      WHEREFORE,                               based           on the       foregoing,               GLL          respectfully                requests            that     this     Court             enter


         judgment           in    its     favor:



                      (a)               on     its     first      cause         of     action        against           Zhang            for    breach           of Lease           in an amount                   to be



         determined              at trial,          but     believed             to be no            less     than         $3,046,893.04,                     together            with      interest;

                                                                                                                                                              attorneys'
                      (b)               on     its     second              cause       of    action         against             Zhang         for     its                          fees      and



         disbursements                  incurred               in enforcing                 GLL's           rights        and      remedies                 pursuant            to the     Lease          in     an



         amount       to be determined                           at trial;




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                      (c)            on    its   third     cause        of action       against        Zhang      for     judgment            directing        Zhang       to


          replenish         the    Security;



                      (d)            on    its   fourth         cause    of   action       against      Zhang       for     declaratory             relief     set forth        therein;


          and



                      (e)            for   such      other       and     further       relief     as to this      Court         seems       just    and      proper.




         Dated:       New         York,     New          York
                      April        17, 2023


                                                                                                          STERN            TANNENBAUM                          & BELL           LLP




                                                                                                          By:
                                                                                                                                Kar        n S. F/eman

                                                                                                          380      L       ington          Av/nue
                                                                                                         New            ork,         New    York       10168

                                                                                                          (212)        792-8484
                                                                                                         Attorneys             for    Plaintiff




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